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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America,
Plaintiff,

VS.

Kingsley Sebastian Ibhadore,
a.k.a. Barry Bhoye,

a.k.a. Celestin Cheick,

a.k.a. Simone Diakite, and
a.k.a. Celestin Emmanuel,

Defendant.

 

 

 

No.

VIO:

CR-22-1392-PHX-_J JT (MHB)

INDICTMENT

18 U.S.C. § 371

(Conspiracy)
ount 1

18 U.S.C. § 1957(a)
(Transactional Money Laundering)
ounts 2-11

18 U.S.C. § 1543
(F alse Use of a Passport)
ounts 12-13

31 ULS.C. § 5324(a)(3)
(Structuring Financial Transactions
hrough A Domestic Financial

Institution)
Counts 14-22

18 U.S.C. § 981(a)(1)(C);
18 U.S.C. § 982(a)(1);

21 USS.C. § 853;

28 U.S.C. § 2461(c)
(Forfeiture Allegations)

 

 

 
 

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THE GRAND JURY CHARGES:
INTRODUCTION

1. At all times relevant to this Indictment, defendant KINGLSEY SEBASTIAN
IBHADORE (IBHADORE) was a resident of Arizona and a lawful permanent resident.
IBHADORE immigrated to the United States from Nigeria in 2016.

2. Starting sometime in 2018, IBHADORE conspired with others to launder
funds that were criminally derived.

3. Between August 17, 2018 and August 1, 2019, IBHADORE opened twenty-
four (24) bank accounts through Bank of America (B of A), JP Morgan Chase (JPMC),
Wells Fargo (WF) and BBVA Compass (BBVA). IBHADORE opened the accounts with
the false names of Barry Bhoye, Celestin Cheick, Simone Diakite, and Celestin Emmanuel.
In some cases, IBHADORE used fraudulent passports to open some of the accounts and to

conduct transactions.

4. During the conspiracy, IBHADORE received checks from romance scam
Victims, that were made payable to the false names he used to open the bank accounts.
Some of the checks were in excess of $10,000 and IBHADORE would deposit the checks
into one of the 24 bank accounts. IBHADORE would withdraw cash from his accounts in
structured transactions to avoid the $10,000 reporting requirement, conduct monetary
transfers between his accounts, and conduct wire transfers of criminally derived funds to
third parties in Turkey and Nigeria in excess of $10,000.

COUNT 1
CONSPIRACY
(18 U.S.C. § 371)

5. The factual allegations in the preceding paragraphs are incorporated by
reference and re-alleged as though fully set forth herein.

6. Beginning in or around 2018, and continuing through 2020, in the District
of Arizona and elsewhere, defendant KINGLSEY SEBASTIAN IBHADORE, and others
known and unknown to the grand jury, knowingly and intentionally agreed, confederated,
and conspired with each other, and with others known and unknown to the grand jury, to

commit Transactional Money Laundering, in violation of 18 U.S.C. § 1957(a) against the

 

 

 
 

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United States.
MANNER AND MEANS

7. The manner and means by which the defendant sought to accomplish the

objectives of the conspiracy included:
a. Opening and using numerous bank accounts with false names of Barry
Bhoye, Celestin Cheick, Simone Diakite, and Celestin Emmanuel;
b. Receiving and depositing funds from romance scam Victims; and
c. Engaging in monetary transactions of over $10,000 with criminally
derived funds.
OVERT ACTS

a. On or about August 17, 2018, IBHADORE opened bank account (8717) at
B of A. IBHADORE falsely identified himself as Celestine Emmanuel, and
was the only signer on the account.

b. On or about October 23, 2018, IBHADORE opened a bank account (3290)
at B of A. IBHADORE falsely identified himself as Barry Bhoye, and was
the only signer on the account.

C. On or about October 23, 2018, IBHADORE opened a bank account (4587)
at B of A. IBHADORE falsely identified himself as Simone Diakite, and
was the only signer on the account.

d. On or about October 23, 2018, IBHADORE opened a bank account (3261)
at B of A. IBHADORE falsely identified himself as Barry Bhoye using a
fraudulent passport, and was the only signer on the account.

e. On or about November 1, 2018, IBHADORE opened bank account (1729) at
JPMC. IBHADORE falsely identified himself as Celestine Cheick, and was
the only signer on the account.

f. On or about July 9, 2019, IBHADORE opened a bank account (3263) at
WE. IBHADORE falsely identified himself as Barry Bhoye and was the only

signer on the account.

 

 

 

 
 

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On or about July 30, 2019, IBHADORE opened a bank account (5814) at

B of A. IBHADORE falsely identified himself as Simone Diakite, and was
the only signer on the account.

On or about August 1, 2019, IBHADORE opened a bank account (3395) at

JPMC. IBHADORE falsely identified himself as Barry Bhoye, and was the
only signer on the account.

On or about August 1, 2019, IBHADORE opened bank account (3858) at
JPMC. IBHADORE falsely identified himself as Barry Bhoye using a
fraudulent passport, and was the only signer on the account.

On or about April 27, 2019, IBHADORE deposited a cashier’s check from
Victim A.S., in the amount of $20,000 into his B of A account ending in
3261.

On or about May 6, 2019, IBHADORE transferred $16,565.00 from his B of
A account ending in 3261 to another person in Turkey.

On or about July 8, 2019, IBHADORE deposited a cashier’s check from
Victim M.L., in the amount of $75,000, into his B of A account ending in
3290.

On or about July 12, 2019, IBHADORE deposited a cashier’s check from
Victim MLL., in the amount of $60,000, into his WF account ending in 3263.
On or about July 15, 2019, IBHADORE deposited a cashier’s check, in the
amount of $53,681.00, into his B of A account ending in 4587.

On or about July 16, 2019, IBHADORE sent $51,381.61 to a third party in
Nigeria from his B of A account ending in 4587.

On or about July 19, 2019, IBHADORE deposited a cashier’s check from
Victim M.L., in the amount of $50,000, into his B of A account ending in
3261.

On or about August 7, 2019, IBHADORE deposited a cashier’s check from
Victim M.L., in the amount of $100,000, in to his JPMC account ending in

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3395.

On or about August 7, 2019, IBHADORE deposited a cashier’s check from
Victim M.L., in the amount of $100,000, into his B of A account ending in
3261.

On or about August 15, 2019, IBHADORE deposited a $42,476.13 cashier’s
check into his B of A account ending in 4590. The check was funded with
Victim M.L. funds that were deposited into I]BHADORE’s B of A account
ending in 3261.

On or about August 15, 2019, IBHADORE deposited a $46,961.06 cashier’s
check into IBHADORE’s B of A account ending in 5814. The check was
funded with Victim M.L. funds that were deposited into IBHADORE’s B of
A account ending in 3261.

On or about August 29, 2019, IBHADORE deposited a cashier’s check from
Victim M.L., in the amount of $30,000, into his B of A account ending in
3290.

On or about September 25, 2019, IBHADORE deposited a check from
Victim D.M., in the amount of $30,000, into his JPMC account ending in
3395.

On or about October 11, 2019, IBHADORE deposited a cashier’s check from
Victim M.L., in the amount of $40,000, into his JPMC account ending in
3858.

On or about February 27, 2020, IBHADORE deposited a cashier’s check
from Victim D.E., in the amount of $97,000, into his B of A account ending
in 3261.

On or about March 2, 2020, IBHADORE deposited a $25,392.88 cashier’s
check, purchased with funds from Victim D.E., into his B of A account

ending in 5814.

 

 

 
 

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Z. On or about March 2, 2020, IBHADORE deposited a $27,682.21 cashier’s
check, purchased with funds from Victim D.E., into his B of A account
ending in 4587.

aa. On or about September 23, 2019, IBHADORE withdrew $3,000 from his
JPMC account ending in 3858.

All in violation of Title 18, United States Code, Section 371.

COUNTS 2-11
TRANSACTIONAL MONEY LAUNDERING
(18 U.S.C. § 1957(a))

8. The factual allegations in the preceding paragraphs of this Indictment are re-
alleged and incorporated as though fully set forth herein.

9. On or about the dates listed below, in the District of Arizona and elsewhere,
defendant KINGLSEY SEBASTIAN IBHADORE knowingly engaged in monetary
transactions, of a value greater than $10,000, occurring within the United States, with
criminally derived funds, i.e. mail and wire fraud, with each transaction being a separate

count of this Indictment:

 

 

 

 

Count | On or About Monetary Transaction Amount
Date (Account Name, Last 4 Account Numbers)
2 7/8/2019 Deposit of Victim M.L.’s cashier’s check into | $75,000.00
Defendant’s B of A account ending in 3290.
3 7/15/2019 Deposit of a cashier’s check into Defendant’s | $53,681.00
B of A account ending in 4587.
4 7/16/2019 Transfer from Defendant’s B of A account | $51,381.61

ending in 4587 to a third party in Nigeria.

 

5 8/7/2019 Deposit of Victim M.L.’s cashier's check into | $100,000.00
Defendant’s B of A account ending in 3261.

 

6 8/15/2019 Deposit of a cashier’s check into Defendant’s | $42,476.13
B of A account ending in 4590.

 

 

 

 

 

 

 

 

 

 

 
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7 8/16/2019 Transfer from Defendant’s B of A account | $86,746.89
ending 5814 to a third party in Nigeria.

 

8 9/25/2019 Deposit of a personal check from Victim D.M. | $30,000.00
into Defendant’s JPMC account ending in
3395.

 

9 2/27/2020 Deposit of cashier’s check from Victim D.E. | $97,000.00
into Defendant’s B of A account ending in
3261.

 

10 3/2/2020 Deposit of a cashiers check into Defendant’s | $25,392.88
B of A account ending 5814.

 

11 3/2/2020 Deposit of a cashiers check into Defendant’s | $27,682.21
B of A account ending 4587.

 

 

 

 

 

 

 

All in violation of Title 18 U.S.C., Section 1957(a).

COUNT 12
FALSE USE OF A PASSPORT
(18 U.S.C. § 1543)

10. Onor about October 23, 2018, within the District of Arizona, the defendant,
KINGLSEY SEBASTIAN IBHADORE, willfully and knowingly used and attempted to
use a false, forged, and counterfeit passport or an instrument purporting to be a passport
issued by the Republique of Guinée, West Africa, in that the defendant presented the said
passport or instrument purporting to be his passport to an employee at Bank of America
Bank, to open bank account (3261). IBHADORE falsely identified himself as Barry
Bhoye, and was the only signer on the account.

All in violation of Title 18 U.S.C., Section 1543.

COUNT 13
FALSE USE OF A PASSPORT
(18 U.S.C. § 1543)

11. Onor about August 1, 2019, within the District of Arizona, the defendant,
KINGLSEY SEBASTIAN IBHADORE, willfully and knowingly used and attempted to

use a false, forged, and counterfeit passport or an instrument purporting to be a passport

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issued by the Republique of Guinée, West Africa, in that defendant presented the said
passport or instrument purporting to be his passport to an employee at JP Morgan Chase,
to open bank account (3858). IBHADORE falsely identified himself as Barry Bhoye, and
was the only signer on the account.

All in violation of Title 18 U.S.C., Section 1543.

COUNTS 14-22

STRUCTURING FINANCIAL TRANSACTIONS THROUGH A DOMESTIC
FINANCIAL INSTITUTION
(31 U.S.C. § 5324(a)(3))
12. Onor about September 23, 2019, and continuing to on or about March 16,

2020, in the District of Arizona, defendant KINGLSEY SEBASTIAN IBHADORE
knowingly, and for the purpose of evading the reporting requirements of Section 5313(a)
of Title 31, United States Code, the regulations promulgated thereunder and the reporting
and record keeping requirements imposed thereunder, structured the following cash

transactions from accounts at B of A, a domestic financial institution.

 

 

 

 

 

 

 

Count On or Banks and Locations Description of Cash
About Date Withdrawal
14 9/23/2019 | 1. JPMC at XX40 S. In-person Cash Withdrawals
Central Avenue, from 3 different bank
Phoenix, Arizona locations:
1. $3,000 from JPMC
2.B of A at XX02 account ending 3858;
N. 44" Street, 2. $7,500 from B of A
Phoenix, Arizona account ending
3261;and |
3.B of A at XXO01 S. 3. $5,200 from B of A
Central Avenue, account ending 3261.
Phoenix, Arizona
15 10/2/2019 | BofA at XXX0OS. In-person Cash Withdrawals:
and Central Avenue, 1. $5,750 and $3,000
10/3/2019 | Phoenix, Arizona (from B of A account
ending 3395) (10/2/19)
2. $3,000 and $6,000
(from B of A account
ending (3395)
(10/3/19)

 

 

 

 

 
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16 3/2/2020 |1. BofA at XX23N. In-person Cash Withdrawals
Scottsdale Road, from 3 different bank
Scottsdale, Arizona locations:
2. BofA at XX02N. 1. $8,740 from B of A
44" Street, Phoenix, account ending 3261;
Arizona 2. $7,720 from B of A
account ending 3261;
3. Bof A at XX03 W. and
Olive Avenue, 3. $4,500 from B of A
Glendale, Arizona account ending in
5814.
17 3/4/2020 |1.BofA at XX02 N. In-person Cash Withdrawals
44' Street, Phoenix, from 3 different bank
Arizona locations:
1. $7,900 (from B of A
2.B of A at XX01 W. account ending 3261);
Happy Valley Road, 2. $7,600 (from B of A
Phoenix, Arizona account ending 4587);
and
3.BofA XX78 E. 3. $8,200 from B of A
Camelback Road, account ending 5814.
Phoenix, Arizona
18 3/6/2020 | BofA at XX5 E. Bell In-person Cash Withdrawals
Road, Phoenix, Arizona | of:
1. $8,000 from B of A
account ending 3261;
2. $7,800 from B of A
account ending 4587;
and
3. $4,620 from B of A
account ending 5814.
19 3/10/2020 | 1. BofA at XX02N. In-person Cash Withdrawals
44" Street, Phoenix, | from 2 different bank
Arizona locations:
1. $2,600 from B of A
2. Bof A at XX5 E. Bell account ending 3261;
Road, Phoenix, and
Arizona 2. $7,600 from B of A
account ending 4590.
20 3/12/2020 | 1. BofA at XX0O1 W. In-person Cash Withdrawals
Happy Valley Road, | from 2 different bank
Phoenix, Arizona locations:

 

 

 

 

 

 
 

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. BofA at XX78 E.

Camelback Road,
Phoenix, Arizona

1. $8,800 from B of A
account ending 4590;
and

2. $8,900 from B of A
account ending 3290.

 

 

 

 

 

Olive Avenue,
Glendale, Arizona

. BofA at XX00 W.

Glenn Drive,
Glendale, Arizona

. BofA at XX31 W.

Thunderbird Road,
Glendale, Arizona

 

21 3/13/2020 | 1. BofA at XX23N. In-person Cash Withdrawals
Scottsdale Road, from 2 different bank
Scottsdale, Arizona locations:
1. $7,700 from B of A
. BofA at XX02N. account ending 3290;
44" Street, Phoenix, and
Arizona 2. $8,300 from B of A
account ending 4587.
22 3/16/2020 | 1. BofA at XX03 W. In-person Cash Withdrawals

from 3 different bank
locations:

1. $1,500 and $5,000
from B of A account
ending 3290;

2. $3,000 from B of A
account ending 4590;
and

3. $4,500 from B of A.
accounts ending 4590.

 

All in violation of Title 31, United States Code, Section 5324(a)(3).

alleged and incorporated as though fully set forth herein.

FORFEITURE ALLEGATION
(18 U.S.C. § 981(a)(1)(C); 18 U.S.C. § 982(a)(1);
21 U.S.C. § 853; 28 U.S.C. § 2461(c))

13. The factual allegations in the preceding paragraphs of this Indictment are re-

14. Pursuant to Title 18, United States Code, Sections 981 and 982, Title 21,
United States Code, Section 853, and Title 28, United States Code, Section 2461(c), and

upon conviction of one or more of the offenses alleged in Counts 1 through 22 of this

Indictment, defendant(s) shall forfeit to the United States all right, title, and interest in any

and all property, real or personal, involved in such offense(s), or any property: traceable to

such property involved in the offense(s), or conspiracy to commit such offense(s),

 

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including the following: (a) all money or other property that was the subject of each
transaction, transportation, transmission or transfer in violation of a statute listed in Title
18, United States Code, Section 982, (b) all other property constituting proceeds obtained
as a result of those violations, and (c) all property used in any manner or part to commit or
to facilitate the commission of those violations including, but not limited to the sum of
money representing the amount of money involved in the offense(s).

If any of the above-described forfeitable property, as a result of any act or omission
of the defendant(s):

(1) cannot be located upon the exercise of due diligence,

(2) has been transferred or sold to, or deposited with, a third party,

(3) has been placed beyond the jurisdiction of the court,

(4) has been substantially diminished in value, or

(5) has been commingled with other property which cannot be divided without

difficulty, it is the intent of the United States to seek forfeiture of any other

property of said defendant(s) up to the value of the above-described forfeitable

property, pursuant to Title 21, United States Code, Section 853(p).

All in accordance with Title 18, United States Code, Sections 981 and 982, Title 21,
United States Code, Section 853, Title 28, United States Code, Section 2461(c), and Rule

32.2, Federal Rules of Criminal Procedure.

A TRUE BILL

s/
FOREPERSON OF THE GRAND JURY
Date: October 25, 2022

GARY M. RESTAINO
United States Attorney
District of Arizona

s/
KRISTEN BROOK
RAYMOND K. WOO
Assistant U.S. Attorneys

 

 

 
